9/30/22, 9:08 PM                             Gmail - Lou v. Lopinto: Meet and Confer Regarding Officer Disciplinary History



                                                                                               William Most <williammost@gmail.com>



  Lou v. Lopinto: Meet and Confer Regarding Officer Disciplinary History
  William Most <williammost@gmail.com>                                                        Wed, Sep 28, 2022 at 2:05 PM
  To: "Valenti, Lindsey M." <valenti_lm@jpso.com>
  Cc: Andy Clarke <aclarke@cochranfirmmidsouth.com>, "Kaul, Christopher W." <CKaul@thompsoncoe.com>, FRANZ
  ZIBILICH <fzibilich@bellsouth.net>, "Jeffrey D. Martiny" <jeff@martinylaw.com>, Mark <MHill@thompsoncoe.com>

    Lindsey and Franz,

    Thank you for having a meet and confer with us about these issues. Andy and I explained that we don't think you have
    disciplinary records in hand that you are withholding from us; the concern is that there might be records that you don't
    know about because they were destroyed.

    Here is some of what you explained to us:

            Upon receipt of our January 25, 2020 anti-spoliation letter, JPSO took steps to preserve the items listed in the
            letter. It did not implement a full litigation hold until it received notice that the lawsuit had been filed.

            JPSO does not have a written litigation hold policy. When it implements a litigation hold, however, that hold stops
            the destruction of disciplinary records of involved officers. That is done by making a physical copy of the officer
            disciplinary records and putting them in a separate file for the litigation.

            JPSO does not have a written document destruction policy.

            JPSO's practice is to destroy officer disciplinary records after three years, absent something requiring preservation
            like a litigation hold. JPSO does not contend that this destruction is mandatory.

            There might be overlapping litigation holds that would result in the preservation of defendants' disciplinary records
            for more than three years prior to the Lou complaint (e.g., Vega), but there is not an easy way to determine that.

            JPSO's only document retention schedule submitted to the state archives is the one for body-worn camera
            footage.

            JPSO does not keep any records of record destruction, such as records destruction certificates.

            JPSO does not seek or receive permission from the state archives to destroy records (except for the
            BWC document retention schedule).

    You pointed out that you don't think it is likely that there are unknown destroyed disciplinary records for these individual
    defendants, because (1) we asked the individuals at deposition and they said they did not recall any; (2) we can ask the
    IA 30(b)(6) rep at his upcoming deposition (although he has not been in the role for >5 years), and (3) serious issues
    would be in the press or court.

    For Lopinto himself, you agreed that he's probably been continuously in litigation during his tenure as sheriff, but maybe
    not as an individual defendant. You think it is unlikely there are any complaints or investigations about him personally
    because of his role (i.e., not doing street work), other than the one self-initiated investigation you'll provide us.

    You said that you disagree with us about our interpretation of La. Admin. Code tit. 4, § XVII-901 et seq.

    Please let me know if any of the above does not match your understanding, or if I am missing anything key.

    Thank you!

    William

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